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Exhibit A
Case 3:20-cr-00026-BJD-LLL Document 132-1 Filed 10/03/22 Page 2 of 34 PagelID 850

AQ 106 (Rev 04/10) Application for a Search Warrant | CERTIFY THE FOR INGO BEA TRUE

RHE Serr HE ORIGINAL
RK OF BOURT

MIDD A rs
for the BY: eo y) “FEGRIDA
Middle District of Florida \ DEPUTY CLEA :
i K
In the Matter of the Search of )
(Briefly describe the property lo be searched y
> ae entity the person by name and address) ) Case No. 3:19-mj- held» MCE€e
the premises known as 113 Marsh Island Circle, Saint ) -
Augustine, Florida 32095

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcementiofficer or an attorney for the government, request a search warrant and State under
penalty of perjury that I have reasonjto believe that on the following person or property (identify the person ar describe te

property to he searched ig 2 ips daca
f Hes Bremisas’ inown a8 113° March ‘| Island Circle, Saint Augustine, Florida 32095, more particularly described in

Attachment A,

located in the Middle District of Florida . there is now concealed (identifi: che
person or describe the property to be seized):
see Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is feheck one or more):
A evidence ofa crime}
& contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

Ja person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of

Code Section Offense Description
18 U.S.C. § 1030 Intentionally accessing a protected computer or computer network without
authorization

The application is based on these facts:

of Continued on the attached shect.

Delayed notice of | | days (give exact ending date if more than 30 days: ____ )is requested
under 18 U.S.C. §3 3 31032, the basis of which is set ay oa the attached pheet. )

“ie Pa a

ADP icant’s signatur e
|

SA Frank Norris, Federal Bureau of Investigation __

Printed name and title
Sworn to before me and signed in my presence.
orn ene oo
Date: / i ] i 4 Ls SoG.
c: —= : a
f Judge's siearalure

City and state: Jacksonville, Florida Magistrate Judge Monte C. Richardson
Printed nanie and title

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AFFIDAVIT
I, Frank Norris, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. Iam a Special Agent (SA) with the Federal Bureau of Investigation
(FBI) and have been so employed since March 2018. I am an investigative or law
enforcement officer of the United States within the meaning of Rule 41(a)(2)(C) of
the Federal Rules of Criminal Procedure. I am currently assigned to the Cyber Task
Force of the Jacksonville, Florida, Division of the FBI, where I conduct a variety of
investigations in the area of cyber-crimes. Prior to this assignment, I was employed
as a Staff Operation Specialist (SOS) for the FBI for approximately 2 years. As an
SOS I worked investigations pertaining to violent crimes, white collar crimes,
counter intelligence, domestic terrorism, cyber-crimes, cyber-crimes related to
national security. Prior to working for the FBI, I received a Bachelor’s degree in
Criminal Justice and in Political Science and also received a Master’s Degree in
Information Systems. I have received law enforcement training from the FBI
Academy at Quantico, Virginia. A substantial portion of my duties are dedicated to
investigating cases involving financial and non-financial motivated computer
intrusions and Internet-enabled fraud. Since becoming a Special Agent, I have
worked with experienced Special Agents who also investigate financial and non-
financial motivated coniputer intrusions and Internet-enabled fraud. In the
performance of my duties, I have investigated and assisted in the investigation of

matters involving the unauthorized access of a computer network, fraud facilitated

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through the use of the Internet, nation state computer intrusions, and computer
intrusions for the purposes of financial gain. I have participated in the execution of
numerous search warrants, including search warrants in cyber investigations.

Bs The statements contained in this affidavit are based on my personal
knowledge as well as on|information provided to me by other law enforcement
officers. This affidavit is being submitted for the limited purpose of securing a search
warrant, and I have not included each and every fact known to me concerning this
investigation, I have set forth only the facts that I believe are necessary to establish
probable cause to believe evidence of violations of federal law is present in the
residence to be searched.

REQUESTED WARRANT

2 I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a warrant to search the premises known as
113 Marsh Island Circle, Saint Augustine, Florida 32095 (hereinafter the “SUBJECT
PREMISES”), as further described in Attachment A, for the things described in
Attachment B.

STATUTORY AUTHORITY

4, As detailed herein, Samuel Arthur THOMPSON is the subject of an
FBI investigation into the use of one or more computers to commit violations of
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Title 18, United States Code, Section 1030, which prohibits intentionally accessing a

protected computer or computer network without authorization. A “protected

computer” is a computer that is used in or affecting interstate or foreign commerce.

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a. Title 18, United States Code, Section 1030(a)(2)(C) provides that
itis unlawful for an individual to “intentionally access a
computer without authorization or exceed authorized access in
order to obtain information from any protected computer.”

b. Title 18, United States Code, Section 1030(a)(5)(C) provides that
it is unlawful for an individual to “intentionally access a
protected computer without authorization, and as a result of such
conduct, [cause] damage and loss.” The term “damage” means
any impairment to the integrity or availability of data, a program,
a system, or information.

PROBABLE CAUSE

2. On December 10, 2018, I, Special Agent (SA) JulianCarl Slaughter, and
Task Force Officer (TFO) Roger Prendergast interviewed Michael Webb, Vice
President of Information Technology for the Jacksonville Jaguars (VICTIM
COMPANY). Other employees of the VICTIM COMPANY present for the
interview were Senior Manager of Technology and Events Jason Dean, Manager of
Facilities Security Bobby Lyle, and Network Administrator Michael Potts. The
VICTIM COMPANY is a National Football League (NFL) team that hosts a series
of NFL games each football season at TIAA Bank Field, which is a stadium located
at 1 TIAA Bank Field Drive, Jacksonville, Florida, within the Middle District of

Florida.

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6. The interview was conducted as a result of FBI Jacksonville’s receipt of
a complaint from the VICTIM COMPANY that THOMPSON, a former contractor
for the VICTIM COMPANY, had been accessing a secure computer network
located within the VICTIM COMPANY’s facility. As of February 23, 2018,
THOMPSON was no longer employed by the VICTIM COMPANY and thus any
access by THOMPSON to the VICTIM COMPANY’s secure computer network was
unauthorized.

a Through my investigation, I have learned that from April 1, 2017, to
February 23, 2018, THOMPSON was a contract employee with the VICTIM
COMPANY. THOMPSON was the video production engineer and control room
equipment consultant for the VICTIM COMPANY’s video board system located at
the company’s facility. ‘The video boards controlled by the video monitor network,
commonly referred to as a “Jumbotron,” are designed to ingest video data from a
separate network that controls instant replay, slow motion, and video play back.
According to Michael Webb, THOMPSON was the architect of the video board
system and is one of a very few people who understand how the VICTIM
COMPANY’s video monitor network and video boards are designed to operate.
According to Michael Webb, THOMPSON was a contract employee of the VICTIM

COMPANY. Michael Webb explained that THOMPSON had not informed the

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VICTIM COMPANY that he was a convicted sex offender when he was hired.’ The
VICTIM COMPANY chose not to renew THOMPSON's contract after learning he
had not disclosed his past criminal record.

8. While THOMPSON was a contract employee for the VICTIM
COMPANY, THOMPSON had been authorized to use remote access software
called Team Viewer to access the devices that control the video board network.

Team Viewer is a proprietary computer software for remote control, desktop sharing,
online meetings, web conferencing and file transfer between computers.

Team Viewer can be used on devices using Microsoft Windows, macOS, Linux,
Chrome OS, iOS, Android, Windows RT, Windows Phone 8 and BlackBerry
operating systems. Machines running TeamViewer can also be accessed by web
browser. By utilizing the TeamViewer software, THOMPSON had remote access to
the video board system from any location with any device with internet service and a
compatible operating system. THOMPSON’s Team Viewer account was not

terminated when his contract ended with the VICTIM COMPANY.

‘IT note that, based on my review of a publicly available website maintained by the
Florida Department of Law Enforcement (“FDLE”), THOMPSON is a registered
sex offender residing at 113 Marsh Island Circle, Saint Augustine, Florida 32095-
9644, According to FDLE, THOMPSON was convicted on April 22, 1998, of
Sexual Abuse 2nd and Sodomy 2nd in Mobile, Alabama. I have ordered copies of
court records associated with this conviction.

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9, On December 10, 2018, Michael Webb provided SA Slaughter with
documents of the VICTIM COMPANY’s investigation into the incident. From the
documents provided I learned the following:

a. December 3, 2018, the VICTIM COMPANY conducted an
investigation into a series of video monitor network incidents that were
from suspected improper accesses. During three events hosted by the
VICTIM COMPANY, the video boards had experienced an outage
from their standard operating design, as described below:

i. On September 16, 2018, from 18:06:03 — 18:06:20 Eastern Time,
during an event a video board experienced a loss in reference
syne which manifested as a large horizontal green lines appearing
across one whole video board.

ii, On November 18, 2018, from 14:55:18 to 14:55:21 Eastern Time,
during an event a video board experienced a loss in which
resulted in green screens for multiple boards.

iii. On December 2, 2018, from 14:38:37 to 14:38:42 Eastern Time,
during an event a single video board experienced a change of
what seemed to be the zoom of one of the base graphics
displayed.

b. Atno point before or after the suspected problems being fixed were the
operators or engineers for the VICTIM COMPANY able to replicate

the issue causing the incidents. In all of the incidents, the outage

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resulted in the inability for the video board system operators to display
the desired content. This type of attack commonly is called a denial-of-
service (DoS) attack. A DoS attack occurs when legitimate users are
unable to access information systems, devices, or other network
resources due to the actions of a malicious cyber threat actor.

c. An investigation conducted by the VICTIM COMPANY into the
December 2, 2018, incident revealed that a command to change a
specific parameter was the source of the outage. An unknown or
“rogue” device had sent the command. The rogue device was an
Abekas Mira workstation (named MIRA9120) that had been
decommissioned from service and had been replaced with a new one.
Abekas Mira is a server made by Ross Video, which is designed to
produce instant video replays for live events.

d. Unbeknownst to the VICTIM COMPANY, the rogue device had been
moved to a server rack adjacent to the server rack housing the active
Abekas Mira servers in the facility’s video board server room (referred
to as the Rack Room”). In its decommissioned state, MIRAS120 had
no connections to any video system and only had a power cable and
network cable connected to it. The rogue device had the appearance of
an active and functioning part of the network because the
new/replacement device and the rogue device display the label

“SLOMO 03.”

~

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e. After the rogue device (MIRA9120) was identified, it was examined by
the VICTIM COMPANY and was found to have the Team Viewer
software installed and active. The TeamViewer software logs all
connections by default but that feature had been disabled by the user
who installed the program making any connections used by the
TeamViewer software untraceable.

f. Team Viewer software previously had been removed from all of the
devices in the network by the VICTIM COMPANY IT staff.

10. On or about December 3, 2018, the VICTIM COMPANY IT staff
disconnected the MIRA9120 from the video board network and re-enabled the
TeamViewer connection logging in an attempt to discover any new connections
made to MIRA9120 during the upcoming event on December 16, 2018. The
VICTIM COMPANY IT staff re-enabled the Team Viewer logging in order to catch
any unauthorized connections in the act of gaining access to the network.

11. OnJanuary 3, 2019, Michael Webb provided SA Slaughter an image
copy of the MIRA9120 hard drive and the results of the incident investigation from
December 3, 2018. SA Slaughter, FBI Computer Scientist Tim McCrohan, and |
conducted a complete review of the image and learned the following:

a, February 23, 2018 (THOMPSON's last day at work for the VICTIM

COMPANY.)

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IV.

9:09 am — According the Internet Browse History file, a user
logged on to TeamViewer.us and downloaded TeamViewer onto
the Abekas MIRA9120 Station.

9:14 am — According to the TeamViewer Logfile, the username
“Sam7” with TeamViewer User Identification Number
938826091 logged into TeamViewer and connected with
username “MIRA9120” TeamViewer User Identification
Number 625675632.

9:24 am — According to the Internet Browse History file, a user
logged on to rossvideo.com and downloaded the “Dashboard”
software. Dashboard is a free software program that is designed
for facility control and monitoring of devices in a network. The
product is designed to work with Ross Video devices such as the
Abekas Mira devices.

9:43 am ~ According the Internet Browse History file, a user with
ID 11649557 logged on to Dropbox.com to download the file
“CarboniteLoadSave.grid” from the “Jag_SaveForLater” folder.
On January 30, 2019, SA Slaughter served a subpoena to
Dropbox.com for subscriber information for the account using
ID 1 1649557. The results returned from Dropbox.com showed

that Sam THOMPSON is the owner of account 11649557.

b. December 16, 2018 (VICTIM COMPANY had a scheduled event):

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i. The first scheduled event the VICTIM COMPANY held with the
MIRA9120 set to log connections made with the TeamViewer
software.

ii. 2:04 pm ~ According to the Team Viewer log file, user
“DESKTOP-OASEJS8 (1118559964)” logged into Team Viewer
and connected with “MIRA9120 (625675632)”. On February 1,
2019, I served a subpoena to TeamViewer for subscriber
information for account 1118559964. According to the
TeamViewer subpoena results received on February 26, 2019,
account 118559964 logged into account 625675632 (the Abekas
MIRA9120 Station) a total of 5 times, the last session using IP
address 67, 190.234. 123 from a machine using a Windows 10
operating system.

12. On January 9, 2019, I served a grand jury subpoena to TeamViewer and
on January 24, 2019, Team Viewer returned the information requested. Based on my
review of the return, I learned that the 938826091 (‘‘Sam7”) account had 14 sessions
with the 625675632 (“MIRA9120”) account. The last access to the 938826091
account started on November 18, 2018, by IP address 67. /90.234.123 using an
iPhone.

13. On January 29, 2019, SA Slaughter served a grand jury subpoena to
Dropbox.com and on February 1, 2019, Dropbox.com returned the information

requested. Based on my review of the return, I learned that Dropbox.com account

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11649557 was accessed using the [P address 67. 190.234. 123 on January 29, 2019, by

the host “DESKTOP-ONP&MUJ” and January 30, 2019, by an iPhone using
AT&T. The DropBox.com account 11649557 is registered to Sam THOMPSON
who used the email address tvdirector911@gmail.com, This account was accessed
to download the “CarboniteLoadSave.grid” file from the “Jag_SaveForLater” to the
Abekas MIRA9120 Station during the unauthorized access on February 23, 2018.

14. On March 4, 2019, I served a grand jury subpoena to Comcast Cable,
and on March 11, 2019, Comcast Cable returned the information requested. Based
on my review of the return, I learned that on December 16, 2018, the IP address
67,190,234, 123 was assigned to Jean Louise Pucket at 113 Marsh Island Circle, St.
Augustine, Florida, within the Middle District of Florida.

15. Through my investigation I discovered that a rogue network device
(MIRA9120), unknown to the IT staff of the VICTIM COMPANY, was used to
conduct attacks on the Victim Company’s video board network during scheduled
events. I learned that the MIRA9120 device was accessed a by TeamViewer account
that used the IP address 67. 190.234, 123 on THOMPSON’ last day of work for the
VICTIM COMPANY. I learned that on that same day files from THOMPSON ’s
Dropbox account wert accessed and downloaded via internet browser on the
MIRA9120. That same MIRA9120 device was the source of several attacks carried
out on the VICTIM COMPANY ’s network during scheduled events. On December
16, 2018, during a scheduled event the MIRA9120 device was accessed by a

TeamViewer account that used the IP address 67./90.234./23. | learned that the

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67, 190.234, 123 IP address is a Comcast Cable IP that is assigned to the residence of
THOMPSON.

16. On May 9, 2019, TFO Roger Prendergast observed a grey Mercedes
SUV with the license plate ADAMS 2 parked next to a Black Chevrolet Tahoe at 113
Marsh Island Circle, St. Augustine, Florida. According to DAVID records pulled on
May 9, 2019, Samuel THOMPSON and Jean Louise Pucket reside at 113 Marsh
Island Circle, St. Augustine, Florida. Jean Louise Pucket has a Mercedes SUV with
the license plate ADAMS 2 registered to her at 113 Marsh Island Circle, St.
Augustine, Florida. The DAVID records also show that THOMPSON has a black
Chevrolet SUV registered to the address 113 Marsh Island Circle, St. Augustine,
Florida.

TECHNICAL TERMS

17. Based on my training and experience, | use the following technical
terms to convey the following meanings:
a. IP Address: The Internet Protocol address (or simply “IP

address”) is a unique numeric address used by computers on the
Internet. An IP address looks like a series of four numbers, each
inthe range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet must be assigned an IP
address so that Internet traffic sent from and directed to that
computer may be directed properly from its source to its

destination. Most Internet service providers control a range of IP

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addresses. Some computers have static—that is, long-term—IP
addresses, while other computers have dynamic—that is,
frequently changed—-IP addresses.

b. Internet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the
structure of the Internet, connections between devices on the
Internet often cross state and international! borders, even when
the devices communicating with each other are in the same state.

C. Storage medium: A storage medium is any physical object upon
which computer data can be recorded. Examples include hard
disks, RAM, floppy disks, flash memory, CD-ROMs, and other
magnetic or optical media.

d. "Computer," as used herein, is defined pursuant to 18 U.S.C.
§1030(e)(1), as "an electronic, magnetic, optical, electrochemical,
or other high speed data processing device performing logical,
arithmetic or storage functions, and includes any data storage
facility or communications facility directly related to or operating
in conjunction with such device."

e. "Computer hardware,” as used herein, consists of all equipment
which can receive, capture, collect, analyze, create, display,
convert, store, conceal, or transmit electronic, magnetic, or

similar computer impulses or data. Computer hardware includes

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any data processing devices (including, but not limited to, central
processing units, internal and peripheral storage devices such as
fixed disks, external hard drives, floppy disk drives and diskettes,
and other memory storage devices); peripheral input/output
devices (including, but not limited to, keyboards, printers, video
display monitors, and related communications devices such as
cables and connections), as well as any devices, mechanisms, or
parts that can be used to restrict access to computer hardware
(including, but not limited to, physical keys and locks).

f, “Computer Software," as used herein, is digital information
which can be interpreted by a computer and any of its related
components to direct the way they work. Computer software is
stored in electronic, magnetic, or other digital form. It commonly
includes programs to run operating systems, applications, and
utilities.

g. The terms "records," "documents," and "materials," as used
herein, include all information recorded in any form, visual or
aural, and by any means, whether in handmade form (including,
but not limited to, writings, drawings, paintings), photographic
form (including, but not limited to, microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, photocopies),

mechanical form (including, but not limited to, phonograph

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records, printing, typing) or electrical, electronic or magnetic
form (including, but not limited to, tape recordings, cassettes,
compact discs, electronic or magnetic storage devices such as
floppy diskettes, hard disks, CD-ROMs, digital video disks
(DVDs), personal digital assistants (PDAs), multimedia cards
(MMCs), memory sticks, optical disks, printer buffers, smart
cards, memory calculators, electronic dialers, or electronic
notebooks, as well as digital data files and printouts or readouts
from any magnetic, electrical or electronic storage device).

h. “Computer passwords and data security devices,” as used herein,
consist of information or items designed to restrict access to or
hide computer software, documentation, or data. Data security
devices may consist of hardware, software, or other
programming code. A password (a string of alpha numeric
characters) usually operates a sort of digital key to "unlock"
particular data security devices. Data security hardware may
include encryption devices, chips, and circuit boards. Digitally
coded data security software may include programming code that
creates "test" keys or "hot" keys, which perform certain pre-set
security functions when touched. Data security software or code

may also encrypt, compress, or hide protected data to make it

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inaccessible or unusable, as well as reverse the progress to restore
it.

i. Wireless telephone (or mobile telephone, or cellular telephone) is
a handheld wireless device used for voice and data
communication through radio signals. These telephones send
signals through networks of transmitter/receivers, enabling
communication with other wireless telephones or traditional
“land line” telephones. A wireless telephone usually contains a
“call log,” which records the telephone number, date, and time of
calls made to and from the phone. In addition to enabling voice
communications, wireless telephones offer a broad range of
capabilities. These capabilities include: storing names and phone
numbers in electronic “address books;” sending, receiving, and
storing text messages and e-mail; taking, sending, receiving, and
storing still photographs and moving video; storing and playing
back audio files; storing dates, appointments, and other
information on personal calendars; and accessing and
downloading information from the Internet. Wireless telephones
may also include global positioning system (“GPS”) technology
for determining the location of the device. Many wireless
telephones are minicomputers or “smart phones” with immense

storage capacity.

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COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

18. As described above and in Attachment B, this application seeks
permission to search for records that might be found on the SUBJECT PREMISES,
in whatever form they are found. One form in which the records might be found ts
data stored on a computer's hard drive or other storage media (including, for
example, a smartphone or tablet computer). Thus, the warrant applied for would
authorize the seizure of electronic storage media or, potentially, the copying of
electronically stored information, all under Rule 41(e)(2)(B).

19. Probable cause. | submit that if a computer or storage medium Is found
on the SUBJECT PREMISES, there is probable cause to believe that records of
evidentiary value will be stored on that computer or storage medium, for at least the
following reasons:

a. Based on my knowledge, training, and experience, I know that
computer files or remnants of such files can be recovered months
or even years after they have been downloaded onto a storage
medium, deleted, or viewed via the Internet. Electronic files
downloaded to a storage medium can be stored for years at little
or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so
because when a person “deletes” a file on a computer, the data

contained in the file does not actually disappear; rather, that data

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remains on the storage medium until it is overwritten by new
data.

b. Therefore, deleted files, or remnants of deleted files, may reside
in free space or slack space—that is, in space on the storage
medium that is not currently being used by an active file—for
long periods of time before they are overwritten. In addition, a
computer’s operating system may also keep a record of deleted
data ina “swap” or “recovery” file.

C. Wholly apart from user-generated files, computer storage
media—in particular, computers’ internal hard drives—contain
electronic evidence of how a computer has been used, what it has
been used for, and who has used it. To give a few examples, this
forensic evidence can take the form of operating system
configurations, artifacts from operating system or application
operation, file system data structures, and virtual memory
“swap” or paging files. Computer users typically do not erase or
delete this evidence, because special software is typically required
for that task. However, it is technically possible to delete this
information.

d. Similarly, files that have been viewed via the Internet are
sometimes automatically downloaded into a temporary Internet

directory or “cache.”

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20. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only computer files that might serve as direct evidence
of the crimes described on the warrant, but also for forensic electronic evidence that
establishes how computers were used, the purpose of their use, who used them, and
when. There is probable cause to believe that this forensic electronic evidence will be
on any storage medium in the SUBJECT PREMISES because:

a. Data on the storage medium can provide evidence of a file that
was once on the storage medium but has since been deleted or
edited, or of a deleted portion of a file (such as a paragraph that
has been deleted from a word processing file). Virtual memory
paging systems can leave traces of information on the storage
medium that show what tasks and processes were recently active.
Web browsers, e-mail programs, and chat programs store
configuration information on the storage medium that can reveal
information such as online nicknames and passwords, Operating
systems can record additional information, such as the
attachment of peripherals, the attachment of USB flash storage
devices or other external storage media, and the times the
computer was in use. Computer file systems can record
information about the dates files were created and the sequence
in'which they were created, although this information can later
be falsified.

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b. As explained herein, information stored within a computer and
other electronic storage media may provide crucial evidence of
the ‘who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the United States to
establish and prove each element or alternatively, to exclude the
innocent from further suspicion, In my training and experience,
information stored within a computer or storage media (e.g.,
registry information, communications, images and movies,
transactional information, records of session times and durations,
internet history, and anti-virus, spyware, and malware detection
programs) can indicate who has used or controlled the computer
or storage media. This “user attribution” evidence is analogous
to the search for “indicia of occupancy” while executing a search
watrant at a residence. The existence or absence of anti-virus,
spyware, and malware detection programs may indicate whether
the computer was remotely accessed, thus inculpating or
exculpating the computer owner. Further, computer and storage
meédia activity can indicate how and when the computer or
storage media was accessed or used. For example, as described
herein, computers typically contain information that log:
computer user account session times and durations, computer

activity associated with user accounts, electronic storage media

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that connected with the computer, and the IP addresses through
which the computer accessed networks and the internet. Such
information allows investigators to understand the chronological
context of computer or electronic storage media access, use, and
events relating to the crime under investigation. Additionally,
some information stored within a computer or electronic storage
media may provide crucial evidence relating to the physical
location of other evidence and the suspect. For example, images
stored on a computer may both show a particular location and
have geolocation information incorporated into its file data.
Such file data typically also contains information indicating
when the file or image was created. The existence of such image
files, along with external device connection logs, may also
indicate the presence of additional electronic storage media (¢.g.,
a digital camera or cellular phone with an incorporated camera).
The geographic and timeline information described herein may
either inculpate or exculpate the computer user. Last,
information stored within a computer may provide relevant
insight into the computer user’s state of mind as it relates to the
offense under investigation. For example, information within the
computer may indicate the owner’s motive and intent to commit

a crime (e.g., internet searches indicating criminal planning), or

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consciousness of guilt (e.g., running a “wiping” program to
destroy evidence on the computer or password
protecting/encrypting such evidence in an effort to conceal it
from law enforcement).

A person with appropriate familiarity with how a computer
works can, after examining this forensic evidence in its proper
context, draw conclusions about how computers were used, the
purpose of their use, who used them, and when.

The process of identifying the exact files, blocks, registry entries,
logs, or other forms of forensic evidence on a storage medium
that are necessary to draw an accurate conclusion is a dynamic
process. While it is possible to specify in advance the records to
be sought, computer evidence is not always data that can be
merely reviewed by a review team and passed along to
investigators. Whether data stored on a computer is evidence
may depend on other information stored on the computer and
the application of knowledge about how a computer behaves.
Therefore, contextual information necessary to understand other
evidence also falls within the scope of the warrant.

Further, in finding evidence of how a computer was used, the
purpose of its use, who used it, and when, sometimes it is

necessary to establish that a particular thing is not present on a

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storage medium. For example, the presence or absence of
counter-forensic programs or anti-virus programs (and associated
data) may be relevant to establishing the user’s intent.

f, I know that when an individual uses a computer to obtain
unauthorized access to a victim computer over the Internet, the
individual’s computer will generally serve both as an
instrumentality for committing the crime, and also as a storage
medium for evidence of the crime. The computer is an
instrumentality of the crime because it is used as a means of
committing the criminal offense. The computer is also likely to
bela storage medium for evidence of crime. From my training
and experience, I believe that a computer used to commit a crime
of this type may contain: data that is evidence of how the
computer was used; data that was sent or received; notes as to
how the criminal conduct was achieved; records of Internet
discussions about the crime; and other records that indicate the
nature of the offense.

21. Necessity of seizing or copying entire computers or storage media. In most
cases, a thorough search of a premises for information that might be stored on
storage media pequires the seizure of the physical storage media and later off-site
review consistent with the warrant. In lieu of removing storage media from the
premises, it is sometimes possible to make an image copy of storage media.

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Generally speaking, imaging is the taking of a complete electronic picture of the

computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or

intentional destruction. This is true because of the following:

a.

The time required for an examination. As noted above, not all
evidence takes the form of documents and files that can be easily
viewed on site. Analyzing evidence of how a computer has been
used, what it has been used for, and who has used it requires
considerable time, and taking that much time on premises could
be unreasonable. As explained above, because the warrant calls
for forensic electronic evidence, it is exceedingly likely that it will
be necessary to thoroughly examine storage media to obtain
evidence. Storage media can store a large volume of
information. Reviewing that information for things described in
the warrant can take weeks or months, depending on the volume
of data stored, and would be impractical and invasive to attempt
on-site.

Technical requirements. Computers can be configured in several
different ways, featuring a variety of different operating systems,
application software, and configurations. Therefore, searching

them sometimes requires tools or knowledge that might not be

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present on the search site. The vast array of computer hardware
and software available makes it difficult to know before a search
what tools or knowledge will be required to analyze the system
and its data on the Premises. However, taking the storage media
off-site and reviewing it in a controlled environment will allow its
examination with the proper tools and knowledge.

ec; Variety of forms of electronic media. Records sought under this
warrant could be stored in a variety of storage media formats that
may require off-site reviewing with specialized forensic tools.

22. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or
otherwise copying storage media that reasonably appear to contain some or all of the
evidence described in the warrant, and would authorize a later review of the media
or information consistent with the warrant. The later review may require techniques,
including but not limited to computer-assisted scans of the entire medium, that might
expose many parts of a hard drive to human inspection in order to determine
whether it is evidence described by the warrant.

23. Because several people share the SUBJECT PREMISES as a residence,
it is possible that the SUBJECT PREMISES will contain storage media that are
predominantly used, and perhaps owned, by persons who are not suspected of a

crime, If it is nonetheless determined that that it is possible that the things described

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in this warrant could be found on any of those computers or storage media, the
warrant applied for would permit the seizure and review of those items as well.

CONCLUSION

24. [submit that this affidavit supports probable cause for a warrant to
search the SUBJECT PREMISES described in Attachment A and seize the items
described in Attachment B.

25. Based on the foregoing, I have probable cause to believe Samuel Arthur
THOMPSON has used and is using one or more computers and/or electronic
storage media located in the residence located at the SUBJECT PREMISES, more
fully described in Attachment A to this affidavit, to, among other things, conduct
unauthorized access of computer networks belonging to the VICTIM COMPANY.
Based on my training and experience, and after consulting with other FBI Special
Agents that investigate similar computer intrusions, it is common practice that
individuals who conduct such activity maintain physical control of instrumentalities
used in the crime and/or in furtherance of the crime. Therefore, | have probable
cause to believe that one or more individuals, using the residence described above,

has violated Title 18, United States Code, Section 1030. Additionally, I have

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probable cause to believe that fruits, evidence, and instrumentalities of violation of
Title 18, United States Code, Section 1030, as more fully described in Attachment B,
will be located at the SUBJECT PREMISES.

Respectfully submitted,

Ail>

Frank Norris
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
On July fC, 2( ce?

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UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A

Location to be searched

The location to be searched is the premises known as 113 Marsh Island Circle,
Saint Augustine, Florida 32095. The location to be searched is a single story neutral-
colored stucco home with light-colored trim. Photos of the location to be searched
are below:

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ATTACHMENT B

Property to be searched and seized

I. Computers and electronic storage media.

ie Any and all notes, documents, records, or correspondence, in any
format and medium pertaining to the Jacksonville Jaguars.

a Routers, modems, and network equipment used to connect computers
to the Internet.

4. For any computer or storage medium whose seizure is otherwise
authorized by this warrant, and any computer or storage medium that contains or in
which is stored records or information that is otherwise called for by this warrant
(hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at
the time the things described in this warrant were created, edited,
or deleted, such as logs, registry entries, configuration files, saved
usernames and passwords, documents, browsing history, user
profiles, email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

b. Any and all computer software, including applications and
programs that may be used for remote access to a computer.

CG evidence of software that would allow others to control the

COMPUTER, such as viruses, Trojan horses, and other forms of

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malicious software, as well as evidence of the presence or
absence of security software designed to detect malicious
software;

i evidence of the lack of such malicious software;

evidence indicating how and when the computer was accessed or

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used to determine the chronological context of computer access,
use, and events relating to crime under investigation and to the
computer user;

f. evidence indicating the computer user’s state of mind as it relates
to the crime under investigation;

g. evidence of the attachment to the COMPUTER of other storage
devices or similar containers for electronic evidence;

h. evidence of counter-forensic programs (and associated data) that
are designed to eliminate data from the COMPUTER;

L. evidence of the times the COMPUTER was used;

j. passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;

k. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the

COMPUTER;

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I. records of or information about Internet Protocol addresses used
by the COMPUTER;

m. — records of or information about the COMPUTER’s Internet
activity, including firewall logs, caches, browser history and
cookies, “bookmarked” or “favorite” web pages, search terms
that the user entered into any Internet search engine, and records
of user-typed web addresses; and

n. contextual information necessary to understand the evidence
described in this attachment.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as writing);
any mechanical form (such as printing or typing); and any photographic form (such
as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical,
arithmetic, or storage functions, including desktop computers, notebook computers,

mobile phones, tablets, server computers, and network hardware.

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The term “storage medium” includes any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy disks,

flash memory, CD-ROMs, and other magnetic or optical media.

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